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                                                                                  MARrIN~~ COURT~,
                 IN THE UNITED STATES DISTRICT COURT FOR THE                                  G, ~ 254~”~~
                     NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                                          Criminal No. 3:21mj138 RWT

 DIANA TOEBBE,

               Defendant.

                      ORDER OF TEMPORARY DETENTION
               PENDING HEARING PURSUANT TO BAIL REFORM ACT

        Upon motion of the United States of America, it is

        ORDERED that a detention hearing be set at the earliest possible time after the defendant

has had an opportunity to confer with counsel.

        Pending this hearing, the defendant shall be held in the custody of the United States

Marshal and produced at the hearing.



      DATE:   __________




                                                 NIT~E’D STATES MAGISTRATE JUDGE
